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12
                                  UNITED STATES DISTRICT COURT
13                              NORTHERN DISTRICT OF CALIFORNIA
14

15                                                  Case No.: 4:21-cv-00345-KAW
      Center for Biological Diversity, et al.
16                                                  PLAINTIFFS’ NOTICE OF MOTION,
              Plaintiffs,                           MOTION FOR SUMMARY JUDGMENT,
17                                                  AND MEMORANDUM OF POINTS AND
             v.                                     AUTHORITIES IN SUPPORT OF
18
                                                    MOTION FOR SUMMARY JUDGMENT
19    NOAA Fisheries, et al.
                                                    Date: August 4, 2022
20            Defendants.                           Time: 1:30 p.m.
                                                    Dept: Courtroom 4, Third Floor
21                                                  Judge: Hon. Kandis A. Westmore
22

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 1                                   TABLE OF ACRONYMNS
 2

 3                Acronym                                 Definition
 4
                    APA                        Administrative Procedure Act
 5
                     AR                             Administrative Record
 6
                    DPS                        Distinct Population Segment
 7
                    ESA                             Endangered Species Act
 8
                    FWS                       U.S. Fish and Wildlife Service
 9

10                 MMPA                       Marine Mammal Protection Act

11                 NMFS             NOAA Fisheries (National Marine Fisheries Service)

12                 PARS                             Port Access Route Study

13                  PBR                        Potential Biological Removal
14                 PWSA                       Ports and Waterways Safety Act
15
                    TSS                         Traffic Separation Scheme
16
                   USCG                                U.S. Coast Guard
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 1             NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
 2          On August 4, 2022, at 1:30 p.m., or as soon as possible thereafter, Plaintiffs Center for
 3   Biological Diversity and Friends of the Earth (“Plaintiffs”) will move for summary judgment
 4   pursuant to Federal Rule of Civil Procedure 56. Plaintiffs move for summary judgment because
 5   there is no genuine dispute as to any material fact and Plaintiffs are entitled to judgment as a
 6   matter of law.
 7          Pursuant to the judicial review provisions of the Administrative Procedure Act (“APA”),
 8   5 U.S.C. § 706(2), and Endangered Species Act (“ESA”), 16 U.S.C. § 1540(g), Plaintiffs seek an
 9   order declaring that (1) Defendant NOAA Fisheries (hereafter, “NMFS”) violated section 7(a)(2)
10   of the ESA, 16 U.S.C. § 1536(a)(2), in issuing a 2017 Biological Opinion addressing the impacts
11   of the U.S. Coast Guard’s (“USCG”) codification in regulation of Traffic Separation Schemes
12   (“TSS”) in the approaches to the ports of Los Angeles-Long Beach and the San Francisco Bay
13   (“2017 Biological Opinion” or “Biological Opinion”); and (2) Defendant USCG violated the
14   ESA, 16 U.S.C. § 1536(a)(2), in relying on that invalid Biological Opinion in adopting the TSS.
15          This Motion is based on the Notice of Motion; the supporting Memorandum of Points
16   and Authorities and declarations attached hereto; all pleadings and documents on file in this
17   action; the administrative records; and such oral and documentary evidence as may be presented
18   at or before the hearing on the Motion.
19                       MEMORANDUM OF POINTS AND AUTHORITIES
20                                   STATEMENT OF THE ISSUES
21          Ship strikes are killing endangered blue, fin, and humpback whales off the California
22   coast, impeding their recovery and driving them closer to extinction. In their TSS designations
23   for both Northern and Southern California, USCG chose to continue routing shipping traffic into
24   the Los Angeles-Long Beach and San Francisco Bay ports through areas with some of the
25   highest seasonal densities of large whales on the planet. Nevertheless, NMFS issued a Biological
26   Opinion concluding that the USCG’s TSS designations would have a negligible effect on those
27   species, as well as the endangered leatherback sea turtle. In this action, Plaintiffs seek to
28

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 1   invalidate this Biological Opinion, and compel NMFS and USCG to fulfill their statutory
 2   obligations under the ESA to better protect endangered whales and sea turtles from getting
 3   struck, harmed, and killed by ships off the California coast.
 4          Specifically, Plaintiffs challenge the Biological Opinion’s failure to accurately assess the
 5   impacts of the USCG TSS designations where NMFS relied on an analytical framework that
 6   compared the effects of the such designations with a hypothetical “no-lanes” scenario in which
 7   no designations exist. This no-lane approach was based on the arbitrary assumption that USCG
 8   TSS designations have little effect on shipping traffic, which in turn led NMFS to the inexorable
 9   conclusion that the TSS designations also have little effect on ship strikes of listed species,
10   depriving the imperiled whales and sea turtles of important conservation measures intended to
11   avoid or minimize ship strikes that would be prescribed in a lawful Biological Opinion.
12          Plaintiffs also challenge NMFS’s failure to utilize the best available scientific
13   information in relation to its analysis of humpback whales in particular, because the agency
14   relied on outdated and inaccurate population data. Finally, Plaintiffs challenge USCG’s unlawful
15   reliance on NMFS’s Biological Opinion to ensure its TSS designations do not jeopardize these
16   imperiled species.
17          Accordingly, the Court should grant Plaintiffs’ motion for summary judgment.2
18                                     FACTUAL BACKGROUND
19   I.     Large Whales Off the California Coast
20          Scientists estimate that humans have killed more than 2.5 million large whales during the
21   past 400 years. AR 20038. In recent decades intentional killing of whales has finally been largely
22   eliminated through concerted international and domestic efforts. Internationally, the International
23   Whaling Commission prohibited hunting of large baleen whales in 1966 and subsequently
24

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26   2
      Pursuant to the Court’s October 26, 2021 further case management conference minutes and
27   scheduling order (Dkt. No. 40), the Parties will subsequently brief remedies separately in the
     event the Court grant Plaintiffs’ motion.
28

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 1   enacted a moratorium on commercial hunting of all whale species that became effective in 1985.
 2   See Japan Whaling Ass’n v. Am. Cetacean Soc’y, 478 U.S. 221 (1986).3
 3             Domestically, all baleen species of whales—including blues, fins, and humpbacks—were
 4   listed as endangered under the ESA’s predecessor, the Endangered Species Conservation Act of
 5   1969, 35 Fed. Reg. 8491 (June 2, 1970). These whales remained on the list of threatened and
 6   endangered species after the 1973 passage of the ESA, which prohibited any act that killed them.
 7   Members of this family of whales, known as Balaenopteridae, use their fringed baleen plates
 8   rather than teeth to feed, capturing krill, other pelagic crustaceans, and schooling fish as water
 9   filters through. AR 9788.4 This makes baleen whales especially important for the health of the
10   ocean ecosystem by circulating nutrients to and from the ocean floor, key to stimulating ocean
11   productivity and storing carbon.
12             Despite the ESA’s protection, many whale populations remain significantly depleted
13   compared to their pre-whaling populations. See, e.g., AR 9542 (“The world’s stocks of blue
14   whales were depleted by modern whaling, and the number of blue whales in the world’s oceans
15   is now only a fraction of what it was in the early 20th century . . . some populations have shown
16   signs of recovery; others have not been adequately monitored.”). The Pacific Ocean waters off
17   the California coastline include essential habitat for these recovering whale populations,
18   including seasonal feeding areas for humpback and blue whales, and year-round aggregations of
19   fin whales. AR 19591.
20             Blue Whales: The blue whale “is not only the largest of the whales, [but] is also the
21   largest living animal,” reaching 100 feet in length and weighing as much as 160 metric tons. AR
22   9788. Blue whales do not exhibit “well defined social or schooling structure, and in most of their
23   range they are generally solitary or found in small groups.” AR 9788.
24

25   3
         Unless otherwise noted, internal citations and quotations are omitted from case law citations.
26   4
      Defendants filed their Notice of Lodging of Administrative Records on October 1, 2021. Dkt.
27   No. 33. This brief cites to the NMFS administrative record as “AR” and the USCG
     administrative record as “USCG AR.”
28

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 1           Blue whales off the California coast are part of the Eastern North Pacific stock, one of
 2   two North Pacific stocks identified by distinct patterns of whale vocalizations. AR 19626. Recent
 3   population estimates range from about 500 to nearly 2,000 animals. AR 9367. NMFS has
 4   determined that this population cannot sustain more than 2.3 human-caused deaths annually if
 5   the population is to recover.5 AR 16335.
 6           Fin Whales: Fin whales are the second largest whale by length. AR 10460. Like blue
 7   whales, fin whales are a cosmopolitan species with a range that spans the world’s oceans. Fin
 8   whales are long-bodied and slender; less well studied than both blue whales and humpback
 9   whales; and their population dynamics and trends are less well known. The pre-whaling
10   population of fin whales in the North Pacific is estimated to be 42,000 to 45,000 animals. AR
11   10472. Scientists estimate there are now approximately 1,400 fin whales off the California coast
12   and approximately 3,000 whales in the California/Oregon/Washington population. AR 16342.
13   NMFS has determined that this fin whale population can sustain no more than 16 human-caused
14   deaths annually if it is to recover. Id.
15           Humpback Whales: Humpback whales are the only member of the three large whale
16   species for which NMFS has revised its ESA listing, 81 Fed. Reg. 62,260 (Sept. 8, 2016)
17   (Identification of 14 Distinct Population Segments and Revision of Species-Wide Listing), and
18   the only member for which NMFS has designated critical habitat. 86 Fed. Reg. 21,082 (April 21,
19   2021) (Final Rule to Designate Critical Habitat for the Central America, Mexico, and Western
20   North Pacific Distinct Population Segments of Humpback Whales). Male humpback whales sing
21   complex songs that can last up to 20 minutes and be heard up to 20 miles away. AR 15355.
22           Humpback whales along the U.S. West Coast comprise a single stock for MMPA
23   purposes—the California/Oregon/Washington stock—which includes two feeding groups: (1) a
24   California and Oregon feeding group and (2) a northern Washington and southern British
25
     5
26    This “potential biological removal” (“PBR”) threshold is defined under the Marine Mammal
     Protection Act as “the maximum number of animals, not including natural mortalities, that may
27   be removed from a marine mammal stock while allowing that stock to reach or maintain its
     optimum sustainable population.” 16 U.S.C. § 1362(20).
28

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 1   Columbia feeding group. The former includes whales from the endangered Central America
 2   Distinct Population Segment (“DPS”), which feeds almost exclusively off California and
 3   Oregon, and the threatened Mexico DPS, which feeds off Washington and British Columbia.
 4   Population estimates for these DPSs in 2016, when listed under the ESA, were 411 and 3,264,
 5   respectively. 81 Fed. Reg. at 62,305, 62,307. Following the recent reclassification of humpbacks
 6   under the ESA, NMFS had not yet updated its estimate of the annual level of human-caused
 7   mortality that can be sustained for these two DPS.
 8   II.    Ship Strikes Are a Primary Threat to Blue, Fin, and Humpback Whales
 9          Collisions with speeding ships have been a documented source of whale mortality for
10   more than a century. AR 19119. Ship strikes, however, remained a “genuine rarity” before the
11   1950s and were “treated as great curiosities.” As one example, a whale “carried into Baltimore
12   harbor by a tanker in 1940 attracted a crowd of 10,000 people.” AR 19121.
13          Reports of mortality among all large whale species then rose as the number and speed of
14   vessels increased during the 1950s through 1970s. AR 19121. This “apparent increase in the
15   number of ship-struck whales . . . also corresponds with the period when the maximum speed of
16   most large oceangoing ships began to exceed 14–15 [knots].” AR 19121.
17          Since the 1970s, marine mammal stranding programs have provided a basis for
18   documenting collisions between ships and whales. AR 19110. These records reflect that whales
19   struck by ships suffer violent, painful, and likely often slow deaths with propeller cuts, gashes,
20   fractured or shattered skulls, broken vertebrae, blunt trauma, bruises, and other grievous injuries.
21   AR 19111–19112. For some species, including humpback whales, a high proportion of struck
22   whales are calves or juveniles. AR 19124.
23          Ship strikes are rarely witnessed and typically go undocumented because the carcasses of
24   most whales killed by collisions sink before “stranding” or washing up on a beach. AR 19596;
25   see also AR 17966 (“Dead whale strandings along the coast related to ship strikes may represent
26   only a small portion of true ship strike mortality; most cetacean deaths are never recovered
27   because they either sink or do not come ashore.”). In a study of right whales, researchers
28

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 1   estimated a carcass detection rate of 17 percent. AR 19596. Right whales, however, tend to float
 2   after death, whereas blue, fin, and humpback whales are negatively buoyant. (i.e., they sink after
 3   death). AR 19596. Thus for each documented ship strike mortality of these whales, scientists
 4   estimate that there are numerous additional undocumented deaths. See AR 11633 (NMFS large
 5   whale ship strike database stating that “the actual number of strikes is undoubtedly much greater
 6   than reported here.”).
 7          Ship strikes of large whales in the approaches to California’s ports have been
 8   documented for decades. AR 18776 (“Documented vessel strikes appear to be most prevalent
 9   around California’s major ports of San Diego, Los Angeles/Long Beach, and the entrance to San
10   Francisco Bay.”). For example, there were 20 observed whales that were killed by ships within
11   the Gulf of Farallones and Cordell Bank National Marine Sanctuaries region (where TSS
12   designations into the San Francisco Bay region ports have been established) from 1988 to 2011.
13   AR 18775; see also AR 9319 (“[t]here [were] 15 documented ship strikes of blue, humpback,
14   and gray whales off San Francisco between 2005 and 2014,” but “[t]he true number of strikes is
15   likely much higher because ship strikes have a low probability of detection.”). In southern
16   California, there were 10 documented large whale ship strike deaths between 1998 and 2011,
17   “with a large number likely struck by vessels in the Santa Barbara Channel and waters around
18   the Channel Islands.” AR 6455.
19          Under the ESA, NMFS is required to prepare a recovery plan for listed species, 16 U.S.C.
20   § 1533(f), which provides the “basic road map to recovery, i.e., the process that stops or reverses
21   the decline of a species and neutralizes threats to its existence.” Ctr. for Biological Diversity v.
22   Kempthorne, 607 F. Supp. 2d 1078, 1088 (D. Ariz. 2009). The recovery plans for blue and fin
23   whales both identify ship strikes as a significant threat, and they direct NMFS and other relevant
24   agencies such as USCG to (1) identify areas where ship collisions with whales might occur and
25   (2) identify and implement methods to reduce such collisions. AR 9548–9549, 9556–9557 (blue
26   whale); AR 10485, 10510 (fin whale).
27

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 1          The humpback whale recovery plan was prepared in 1991, before ship strike mortality
 2   had emerged as a primary threat to recovering whale populations. However, NMFS recently
 3   finalized a critical habitat rule recognizing ship strikes as a primary threat to humpback whales
 4   off the California coast. 86 Fed. Reg. at 21,147 (noting the “current extinction risk” for
 5   humpbacks off the California coast from ship strikes and other threats).
 6          During that rulemaking process, NMFS estimated that ship strikes kill at least 22
 7   humpback whales per year. 84 Fed. Reg. 54,354, 54,356 (Oct. 9, 2019) (scientists “estimate that
 8   the mortality due to ship strikes . . . is greater than the estimated fishery bycatch and is equal to
 9   the potential biological removal (PBR) level for the California/Oregon/Washington stock of
10   humpback whales.”). Similarly, the estimated annual blue whale ship strike mortality from ship
11   strikes in southern California alone greatly exceeds the sustainable take threshold for the species
12   along the U.S. West Coast. AR 19598 (“Even conservative estimates of the number of blue
13   whale ship strikes . . . are higher than the potential biological removal”).
14   III.   Ship Strikes Threaten Leatherback Sea Turtles
15          Leatherback sea turtles are the oldest and largest of the marine turtles, with fossil
16   evidence indicating that the species is more than 90 million years old. AR 9585. Leatherbacks
17   found off the California coast belong to a West Pacific population that undertakes a lengthy
18   migration from nesting grounds in the South China Sea to forage on the seasonally abundant
19   West Coast aggregations of their primary prey, brown sea nettles (a type of jellyfish). AR 48.
20   NMFS designated critical habitat for leatherbacks along the U.S. West Coast in 2012, including
21   waters off California. 77 Fed. Reg. 4170 (Feb. 27, 2012).
22          The leatherback sea turtle is one of the most highly imperiled marine animals in the
23   United States. The number of Pacific leatherback sea turtles in California waters has declined
24   consistently with the decline observed in the Pacific population. AR 45. NMFS estimated an
25   annual average of 178 leatherback sea turtles were off California between 1990 and 2003. AR
26   47–48. The population has continued to decline in recent years. In 2015, NMFS estimated the
27   average number of Pacific leatherbacks in California waters from 2005–2014 dropped to 54
28

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 1   individuals annually. 85 Fed. Reg. 48,332, 48,390 (Aug. 10, 2020) (“[A] 27-year aerial survey
 2   study indicates a decline . . . of 5.6 percent annually.”).
 3           Ship strikes are a documented threat to leatherbacks, but stranding records provide only
 4   minimum information about the magnitude of that threat. AR 60. Despite the paucity of data or
 5   study, from 1989 through 2014 there were 12 reported incidents of vessel-struck leatherback sea
 6   turtles in California. AR 60-61. Observations of turtles struck by vessels underestimate the actual
 7   impact, even more so than whales. AR 60 (“It is impossible to know how many leatherbacks
 8   have been affected by ship strikes because it is likely that animals are not seen or their bodies
 9   have been destroyed as a result of either blunt force trauma or getting caught in ship’s
10   propellers.”). Leatherbacks spend nearly half of their time at the ocean’s surface, which “may
11   make [them] particularly vulnerable to vessel strikes in foraging areas.” AR 48.
12   IV.     Ship Strikes in the Approaches to California’s Ports Can Be Reduced Through
             Alternative Routing Measures and Speed Restrictions
13

14           The threat ship strikes pose to large whales received increased attention after two major
15   mortality events occurred in both Southern and Northern California. In Southern California, there
16   were five sightings of dead blue whales in a 12-day period in September 2007, largely within or
17   near the Santa Barbara Channel. AR 15705. And during July, September, and October 2010,
18   three endangered whales were killed by ship strikes in the San Francisco Bay area, including an
19   84-foot pregnant female. AR 17965.
20           Prior to these California mortality events, the best scientific information—developed
21   primarily to address ship strikes of the endangered North Atlantic right whale—already
22   demonstrated there are two main categories of operational measures proven to reduce the risk of
23   ship strikes: (1) routing changes (including temporary, or “dynamic,” and seasonal changes) that
24   reduce the overlap of shipping traffic with areas of high whale densities; and (2) mandatory and
25   enforced vessel speed restrictions. See, e.g., AR 18748 (“[T]he most pragmatic means of
26   reducing vessel strikes to whales are to (1) reduce the probability of a vessel encountering a
27   whale through modified vessel routing (seasonal or otherwise), (2) reduce the lethality of vessel
28

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 1   strikes, should a collision occur, through vessel-speed restrictions, and (3) reduce overall risk
 2   through modified routing coupled with speed restrictions.”); AR 17947 (“Government officials
 3   are essentially left with two possible options to reduce collision fatality risk to [large whales]—
 4   re-route vessels and thereby decrease the probability of a collision and/or impose speed
 5   restrictions on vessels to decrease the impact-force should any collision occur.”).
 6          The Southern California and Northern California mortality events catalyzed extensive
 7   research into ways in which these general principles could be applied to the worsening problem
 8   of California ship strikes. Consequently, specific alternative routing measures have been
 9   proposed for both Northern and Southern California ports. In Northern California, where three
10   approaches allow more flexibility, an advisory council work group suggested a “whale sensitive
11   designation” that would require vessels to “either use the designated lane and following a speed
12   limit of 10 knots, or use a different lane but maintain normal speed.” AR 18783 (cleaned up). In
13   Southern California, scientists concluded that “[o]ne possible way to reduce both of these
14   conflicts is to designate a new TSS at an optimal location south of the northern Channel Islands
15   and determine whether this new TSS should replace or be established in conjunction with the
16   existing TSS.” AR 19599; see also AR 18910 (“avoiding a recurrence of collision events similar
17   to those in 2007 in the [Santa Barbara Channel] likely will require a more comprehensive
18   conservation plan,” including vessel re-routing and mandatory ship speed regulation).
19   V.     The USCG TSS Designations Direct Shipping Traffic Through Areas of High
            Whale Density
20

21          The Ports and Waterways Safety Act (“PWSA”) directs USCG to “provide safe access
22   routes” for large vessels through the establishment of TSS designations. 46 U.S.C. § 70003(a).
23   Like lanes on a paved road, TSS designations are “aimed at the separation of opposing streams
24   of traffic.” 33 C.F.R. § 167.5(b). Before establishing a TSS, the PWSA requires that USCG
25   “undertake a study of the potential traffic density and need for safe access routes.” 46 U.S.C.
26   § 70003(c)(1). The PWSA mandates that this “port access route study” consider nine specific
27   factors, including environmental, and requires that USCG “consult with and receive and consider
28

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 1   the views” of various stakeholders, including “representatives of . . . environmental groups.” Id.
 2   § 70004(2).
 3          Acting pursuant to the PWSA, USCG completed Port Access Route Studies for the
 4   approaches to the Los Angeles-Long Beach and San Francisco Bay ports in 2011. USCG AR
 5   952–953.6 Both studies culminated in routing designations that continue to concentrate large
 6   vessel traffic in areas with high whale densities.
 7          USCG considered multiple TSS configurations during the study process for both ports,
 8   including configurations that would significantly differ from the existing TSS designations. The
 9   agency considered five options in Southern California, including an option that would have
10   eliminated the existing Santa Barbara Channel TSS and created a new TSS south of the Channel
11   Islands, and another option that would have retained the Santa Barbara Channel TSS but also
12   created a new TSS on the southern side of the northern Channel Islands. 75 Fed. Reg. 17,562
13   (April 7, 2010).
14          However, the USCG ultimately chose to largely maintain the status quo. USCG did not
15   move the TSS out of the Santa Barbara Channel or create a second TSS option outside of the
16   Channel. Instead, the agency narrowed the “separation zones” between the inbound and
17   outbound lanes comprising the Santa Barbara Channel TSS and shifted those lanes slightly.
18   Although this option provided some measure of risk reduction for ship strikes, USCG’s action
19   did not minimize the overall risk of ship strikes on whales, and it continues to direct all large
20   vessel traffic approaching from the north into the Los Angeles-Long Beach ports through the
21   Santa Barbara Channel.
22

23

24   6
       Port Access Route Study: The Approaches to San Francisco, Docket USCG-2009-0576
     (February 2011),
25   https://www.navcen.uscg.gov/pdf/PARS/Port_Access_Route_Study_The_Approaches_San_Fran
26   cisco.pdf; Port Access Route Study: Approaches to Los Angeles-Long Beach and in the Santa
     Barbara Channel, Docket USCG-2009-0765 (September 2001),
27   https://www.navcen.uscg.gov/pdf/PARS/Port_Access_Route_Study_Approaches_LosAngeles_L
     ongBeach_Santa_Barbara_Channel.pdf
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 1          Similarly, the USCG considered seven TSS options in the San Francisco Port Access
 2   Route Study. 76 Fed. Reg. 35,805 (June 20, 2011). In contrast to the single TSS approach to Los
 3   Angeles-Long Beach ports, there are three TSS approaches to San Francisco: northern, western,
 4   and southern. Like the Southern California decision, USCG’s TSS designation largely continued
 5   the status quo—making several slight adjustments to the three approaches, primarily to avoid
 6   fisheries conflicts—but also included an adjustment to the western approach that was expected to
 7   provide an incremental reduction of ship strike risk.
 8          Both TSS changes became effective June 1, 2013. AR 7.
 9   VI.    The Biological Opinion
10          On October 24, 2013, the USCG wrote to NMFS to initiate ESA section 7 consultation
11   on its codification of the TSS designations. USCG AR 515–525. In its letter, USCG stated that
12   the action may affect blue, fin, and humpback whales, leatherback sea turtles, and other species.
13   USCG AR 520.
14          NMFS finalized its Biological Opinion on February 23, 2017. AR 1–143. In assessing
15   impacts on ESA-listed species, NMFS developed an analytical approach called the “no-lane
16   scenario,” under which the agency “considered how the codification of the TSSs and resultant
17   ship traffic using the TSSs was different than the no-lane scenario and how this difference would
18   affect the exposure, response, and risk of interactions between whales and leatherback sea turtles
19   in the proposed action areas.” AR 20. Under this approach, NMFS compared the effects of the
20   TSS designations with a nonexistent world in which there are no TSS at all. In the no-lane
21   hypothetical, NMFS further assumed that ships would traverse the same areas as the TSS but
22   would “be spread out or fanned out over a larger area than they would be when using the TSSs.”
23   AR 87, 90. Using this comparative lens, the opinion concluded that USCG’s TSS designations
24   were not likely to jeopardize blue or humpback whales, and that any effects on fin whales or
25   leatherback sea turtles “are extremely unlikely.” AR 98.
26

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 1                                       LEGAL BACKGROUND
 2   I.     Endangered Species Act
 3          The ESA is “the most comprehensive legislation for the preservation of endangered
 4   species ever enacted by any nation” and embodies Congress’s “plain intent” to “halt and reverse
 5   the trend toward species extinction, whatever the cost.” Tenn. Valley Auth. v. Hill, 437 U.S. 153,
 6   180, 184 (1978). Under section 7(a)(2) of the ESA, if a federal agency proposes an action that
 7   may affect a listed marine species or critical habitat, the agency must normally engage in “formal
 8   consultation” with NMFS to ensure that such action “is not likely to jeopardize the continued
 9   existence of any endangered species or threatened species or result in the destruction or adverse
10   modification of [critical] habitat.” 16 U.S.C. § 1536(a)(2); 50 C.F.R. § 402.14 (2017).7 During
11   the consultation process, federal agencies must “use the best scientific and commercial data
12   available.” 16 U.S.C. § 1536(a)(2); 50 C.F.R. § 402.14(d), (g)(8). This consultation process has
13   been described as the “heart of the ESA.” W. Watersheds Project v. Kraayenbrink, 632 F.3d 472,
14   495 (9th Cir. 2011).
15          The formal section 7 consultation process culminates with NMFS’s issuance of a
16   “Biological Opinion.” 50 C.F.R. § 402.14(g), (h). A Biological Opinion must include a summary
17   of the information upon which the opinion is based, an evaluation of “the current status and
18   environmental baseline of the listed species,” “the effects of the action,” and “cumulative effects
19   on the listed species.” 50 C.F.R. § 402.14(g)(2), (3). The “environmental baseline includes the
20   past and present impacts of all Federal, State, or private actions and other human activities in the
21   action area.” Id. § 402.02. “Effects of the action” is defined as “the direct and indirect effects of
22   an action on the species or critical habitat,” as well as “interrelated or interdependent” activities,
23
     7
      This brief cites to the 50 C.F.R. part 402 joint counterpart consultation regulations that were in
24   effect when the Biological Opinion was finalized in February 2017 (Segee Decl., Exh. 1). On
     August 27, 2019, U.S. Fish and Wildlife Service and NMFS issued a final rule that significantly
25   changed several aspects of those regulations. 84 Fed. Reg. 44,976 (Aug. 27, 2019). Plaintiff
26   Center for Biological Diversity has challenged the legality of these rules. Ctr. for Biological
     Diversity v. Haaland, No. 4:19-cv-05206-JST (N.D. Cal. filed Aug. 19, 2019). While the Court
27   applies the regulations in place at the time of the agency’s decision, NMFS’s Biological Opinion
     would also be unlawful under the contested 2019 regulations.
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 1   “added to the environmental baseline.” Id.
 2           In issuing a Biological Opinion, NMFS must consider not just the isolated share of
 3   responsibility for impacts to the species traceable to the agency action, but also the aggregate
 4   effects of that action when added to all other activities and influences that affect the status of that
 5   species, including the environmental baseline. Id. § 402.14(g)(4). NMFS’s consideration of these
 6   aggregate impacts forms the basis for its required decision “as to whether the action is likely to
 7   jeopardize the . . . species or result in the destruction or adverse modification of critical habitat.”
 8   Id.; see also 16 U.S.C. § 1536(b)(3)(A) (NMFS “shall provide . . . a written statement setting
 9   forth the Secretary’s opinion, and a summary of the information on which the opinion is based,
10   detailing how the agency action affects the species or its critical habitat.”).
11           If NMFS determines that jeopardy is likely, it must provide the action agency with
12   “reasonable and prudent alternatives” to avoid that result. Id.; 50 C.F.R. § 402.14(h)(2); see also
13   id. § 402.14(g)(5) (similar). If NMFS instead determines the action will not result in jeopardy,
14   then the agency typically must provide an “incidental take statement” that specifies (1) the
15   amount or extent of such incidental taking on the species, (2) “reasonable and prudent measures”
16   to minimize such impact, and (3) the “terms and conditions” with which the action agency must
17   comply to implement those measures. 16 U.S.C. §§ 1536(b)(4), 1536(o); 50 C.F.R.
18   § 402.14(i)(1).
19           These “substantive and procedural provisions of the ESA are the means determined by
20   Congress to assure adequate protection [for listed species],” and “[o]nly by requiring substantial
21   compliance with the [ESA’s] procedures can [courts] effectuate the intent of the legislature.”
22   Sierra Club v. Marsh, 816 F.2d 1376, 1384 (9th Cir. 1987); see also Conner v. Burford, 848 F.2d
23   1441, 1454 (9th Cir. 1988) (NMFS “cannot ignore available biological information” and must
24   “give the benefit of the doubt to the species.”).
25   II.     Standard of Review
26           Judicial review of NMFS’s Biological Opinion is governed by section 706 of the APA. 5
27   U.S.C. § 706; Bennett v. Spear, 520 U.S. 154, 175–79 (1997) (review of a Biological Opinion
28

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 1   arises under the APA). “Under the APA, courts shall ‘hold unlawful and set aside agency action,
 2   findings, and conclusions found to be . . . arbitrary, capricious, an abuse of discretion, or
 3   otherwise not in accordance with law.’” All. for the Wild Rockies v. U.S. Forest Serv., 907 F.3d
 4   1105, 1112 (9th Cir. 2018) (alteration in original) (quoting 5 U.S.C. § 706(2)(A)).
 5          The APA requires the court “to engage in a substantial inquiry,” consisting of “a
 6   thorough, probing, in-depth review.” Native Ecosystems Council v. U.S. Forest Serv., 418 F.3d
 7   953, 960 (9th Cir. 2005). Even where an agency with “special expertise” acts “within its area of
 8   expertise,” a court “need not defer to the agency when the agency’s decision is without
 9   substantial basis in fact.” Ctr. for Biological Diversity v. Zinke, 900 F.3d 1053, 1067 (9th Cir.
10   2018). An agency’s decision is arbitrary and capricious if it “entirely failed to consider an
11   important aspect of the problem, offered an explanation for its decision that runs counter to the
12   evidence before the agency, or is so implausible that it could not be ascribed to a difference in
13   view or the product of agency expertise.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto.
14   Ins. Co., 463 U.S. 29, 43 (1983). Importantly, a court “may not supply a reasoned basis for the
15   agency’s action that the agency itself has not given.” Id.
16                                              ARGUMENT
17   I.     Plaintiffs Have Associational Article III Standing
18          To establish standing, plaintiffs must show that: (1) they are under threat of suffering
19   ‘injury-in-fact’ that is concrete and particularized, and that threat must be actual and imminent,
20   not conjectural or hypothetical; (2) the alleged harm must be fairly traceable to the challenged
21   action of the defendant; and (3) it must be likely that a favorable judicial decision will prevent or
22   redress the injury. Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., 528 U.S. 167, 180–81
23   (2000). An organization has standing when (1) at least one of its members would have standing
24   to sue in his or her own right; (2) the interest it seeks to protect is germane to its purpose; and (3)
25   “neither the claim asserted nor the relief requested requires the participation of individual
26   members in the lawsuit.” Cottonwood Envtl. Law Ctr. v. U. S. Forest Serv., 789 F.3d 1075, 1079
27   (9th Cir. 2015) (quoting Hunt v. Wash. State Apple Adver. Comm’n, 432 U.S. 333, 343 (1977)).
28

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 1            “An organization can satisfy the concrete harm requirement by alleging an injury to the
 2   recreational or even the mere esthetic interests of its members.” Cottonwood at 1079; see also
 3   Ocean Advocates v. U.S. Army Corps of Eng’rs, 402 F.3d 846, 860 (9th Cir. 2004) (injury-in-fact
 4   is shown through “an aesthetic or recreational interest in a particular place, or animal, or plant
 5   species” if “that interest is impaired by defendant’s conduct.”).
 6            Plaintiffs’ affidavits in this case show aesthetic, recreational, scientific, and spiritual
 7   interests in the protection of particular species (blue whales, fin whales humpback whales, and
 8   leatherback sea turtles) within particular places (the waters of the Santa Barbara Channel, in the
 9   approaches to San Francisco Bay, and adjoining coastlines) that are harmed by NMFS’s and the
10   USCG’s actions. Bevington Decl.; Hartl Decl.; Keever Decl.8 Plaintiffs’ members demonstrate
11   interest in the specific areas of the coast where USCG has designated TSS, including Santa
12   Barbara Channel, areas within San Francisco Bay, and vessel approaches to the ports within the
13   Bay. Bevington Decl. ¶¶ 3, 10; Hartl Decl. ¶ 5, 9; Keever Decl. ¶ 6. Plaintiffs’ members have not
14   only experienced the joy of seeking out and observing blue, fin, and humpback whales within the
15   Santa Barbara Channel and San Francisco Bay region, they have also experienced the heartbreak
16   of observing dead whales on adjacent coastlines after being struck by vessels transiting the area.
17   Bevington Decl. ¶¶ 23-25.
18            Plaintiffs’ interests are injured-in-fact by the unlawful Biological Opinion. The
19   Biological Opinion determined that the TSS designations do not harm the whales or sea turtles at
20   issue, and based on this determination, did not include any required conservation measures to
21   help avoid, minimize, or mitigate ship strikes. These injuries would likely be redressed by a
22   favorable decision. Laidlaw, 528 U.S. at 180–81. Further, Plaintiffs have standing to sue on their
23   members’ behalf because these “members would have standing to sue in their own right, the
24   interests at stake are germane to the organization[s’] purpose[s], and neither the claim asserted
25   nor the relief requested requires the participation of individual members in the lawsuit.” Id. at
26   181.
27
     8
         All declarations cited herein are being filed concurrently with this memorandum.
28

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 1   II.    NMFS Violated the ESA by Failing to Properly Evaluate the Impacts of Shipping
            Lane Designations on Endangered Whales and Sea Turtles
 2

 3          In its Biological Opinion, NMFS acknowledges that ship strikes are a primary threat to

 4   large whales and leatherback sea turtles. AR 27 (“Vessel strikes are the primary threat currently

 5   facing blue whales.”); AR 41 (“Humpback whales, especially calves and juveniles, are highly

 6   vulnerable to ship strikes”); AR 31 (“Threats to fin whales include vessel strikes and

 7   interactions.”); AR 60 (“Vessel strikes have been identified as a threat to leatherback sea turtles

 8   although the magnitude of the threat is unquantified. On the U.S. East Coast, vessel strikes have

 9   been identified as the cause of death for many sea turtles.”).

10          The agency also recognizes that the “particular areas” traversed by the USCG TSS

11   designations through the Santa Barbara Channel and in the three approaches to the San Francisco

12   Bay ports are “very productive” and “important habitat for many species, with high densities of

13   some cetacean species, especially blue, fin, and humpback whales.” AR 51.

14          And NMFS admits that there are high levels of ship strike mortality for all three whales.

15   The Biological Opinion, for example, acknowledges that the estimated ship strike mortality in

16   Southern California alone is more than five times the annual sustainable take for all human-

17   caused mortality of blue whales along the entire West Coast, and that this shipping traffic also

18   results in significant mortality of humpback and fin whales. Id. (“Redfern (2013) assumed a

19   minimum 17% carcass-detection rate and estimated 5.9 humpback whales, 10.6 blue whales, and

20   7.1 fin whales were struck by ships each year.”). AR 60. The Biological Opinion further

21   acknowledges that in the likely event “the carcass-detection rate is lower for blue, fin, and

22   humpback whales than right whales, the actual number of strikes could be higher.” Id.

23          Despite all these admissions, NMFS concluded that the USCG TSS designations

24   essentially have no effect on the listed species. AR 97 (“[W]e find that the likelihood of a whale

25   being struck because of the proposed action is indistinguishable from the existing risk of a strike

26   and this likelihood is not increased by the proposed action.”).

27

28

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 1          As demonstrated below, NMFS was only able to reach this result through reliance on its
 2   unlawful “no lanes” analytical framework.
 3          A.      The “No-Lane” Analytical Framework is Structurally Flawed and Counter
                    to ESA Requirements
 4

 5          The Biological Opinion correctly defines the agency action being consulted on as “the
 6   establishment of these TSSs in the configurations as described by the USCG.” AR 9; see also
 7   AR 7 (“this consultation request was viewed not as a modification of an existing action but as the
 8   establishment of a TSS for the purposes of the ESA analysis.”). Rather than directly considering
 9   the effects of this action, however, NMFS instead engineered the no-lane framework under
10   which it measured the impacts of the lane designations against a hypothetical scenario in which
11   no TSS designations exist. NMFS’s reliance on this approach to determine effects was unlawful
12   because (1) the no-lane framework is based upon an arbitrary, nonsensical assumption that TSS
13   designations have essentially no impact on shipping traffic patterns; (2) in using this framework,
14   NMFS produced a fundamentally flawed comparative analysis of effects rather than
15   comprehensive approach demanded by the ESA and its implementing regulations; and (3) NMFS
16   further minimized and concealed the effects of the TSS designations by improperly
17   characterizing those effects as part of the environmental baseline. As a result, the Biological
18   Opinion fails in its basic task of analyzing the resultant effects of the TSS designations on ESA-
19   listed species and critical habitats, rendering the jeopardy analysis arbitrary and unlawful.
20                  1.      The “No-Lane” Framework Is Based on the Arbitrary Assumption
                            that USCG TSS Designations are of Little Consequence
21

22          NMFS used the no-lane framework as the primary analytical vehicle for its conclusion
23   that USCG TSS designations will essentially have no effect on listed species. AR 90 (result of
24   TSS designations “is that the overall exposure profile for whales and leatherback sea turtles is
25   expected to decrease compared to the no-lane scenario.”). However, the no-lane framework itself
26   is also built on the assumption that the designations merely reflect locations of existing shipping
27   traffic, rather than directing where ships traverse. See, e.g., AR 66 (“It is reasonable to assume
28

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 1   that shipping existed in the general areas where TSSs were later implemented as reflective of a
 2   no-lane scenario.”); AR 69 (NMFS assumption that ship traffic “would generally occur in the
 3   same areas, that is, the ports of [Los Angeles-Long Beach] and [San Francisco Bay] and through
 4   the [Santa Barbara Channel], with the TSSs in place or under the no-lane scenario.”). This
 5   assumption has no rational basis in fact or law, but instead was “little more than an analytical
 6   sleight of hand, manipulating the variables to achieve a ‘no jeopardy’ finding.” Nat’l Wildlife
 7   Fed’n v. Nat’l Marine Fisheries Serv., 481 F.3d 1224, 1239 (9th Cir. 2007)[NWF III].
 8          Contrary to NMFS’s assumptions underlying the no-lane scenario and effects analysis
 9   generally, the use of the Santa Barbara Channel or three existing approaches to the San Francisco
10   Bay ports as primary shipping routes is not a foregone conclusion. Indeed, TSSs do not merely
11   reflect, but direct, the ship routes and traffic, as demonstrated by both the historic use of TSSs
12   and the process underlying the USCG’s most recent TSS designations.
13          After the initial TSS designation for Southern California, “[t]he area which showed the
14   most significant change was the Santa Barbara Channel.” 47 Fed. Reg. 27,430, 27,431 (June 24,
15   1982). As the USCG noted, the increase “seems to indicate that mariners have become more
16   comfortable with the [Santa Barbara Channel] TSS as it has been in existence since 1969.” Id.
17   With respect to Northern California, USCG stated that the San Francisco Bay TSS “has
18   demonstrated itself to be an effective tool in the coordination of an estimated 10,000 vessel
19   transits annually.” 47 Fed. Reg. 46,043, 46,045 (Oct. 14, 1982). For both areas, the record
20   reflects that USCG TSS designations in fact affect mariner headings well beyond their
21   boundaries. AR 17971 (“Many ships appear to continue on the same heading after exiting the
22   TSS, or to set their headings so that they are aimed toward the entry of the TSS. As a result, the
23   positioning of the traffic lanes affects the intensity of ship traffic well beyond the end of the
24   lanes.”)
25          The rulemaking process at issue here further illustrates the consequential effects of
26   USCG TSS designations on listed whale species. In the Southern California Port Access Route
27   Study that provides the foundation for TSS designations in the approaches to Los Angeles-Long
28

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 1   Beach ports, USCG considered an option that would have eliminated the Santa Barbara Channel
 2   TSS, as well as an option that would have retained the existing lane but also designated a second
 3   lane on the southern side of the Channel Islands. NMFS expressly concluded in the Los Angeles-
 4   Long Beach Port Access Route Study that the best available scientific information “indicates a
 5   single TSS south of the Channel Islands would appear to minimize the overall risk of ship strikes
 6   on whales.” PARS, at p. 17. USCG did not choose this recommendation, however, but instead
 7   made the decision to designate a single TSS that continues directing traffic through the Santa
 8   Barbara Channel.
 9          Although NMFS relies on the no-lane analytical framework to arrive at its conclusion, its
10   assertion that USCG TSS designations have no real impact on shipping traffic and thus also have
11   no consequence on ESA-listed species is a familiar one—and has been rejected in at least two
12   prior judicial opinions. In the first, Defenders of Wildlife v. Gutierrez, 532 F.3d 913 (D.C. Cir.
13   2008), conservation groups brought an ESA suit against the USCG and NMFS alleging
14   violations related to the endangered North Atlantic right whale. There, the USCG had refused to
15   undertake any ESA section 7 consultation on its TSS decisions, claiming that the agency had
16   only “a minor and purely ministerial role” in TSS designations. Id. at 926. Writing for the panel,
17   Chief Judge Sentelle squarely rejected these arguments, holding as follows:
18          [T]he record shows quite a different role for the [USCG] in this process. Most
            significantly, the [USCG] is the sole body charged with promulgating traffic
19          separation schemes. Appellees point to no congressional authorization permitting
            the State Department to promulgate traffic separation schemes. Nor can they point
20          to any provision that gives the International Maritime Organization, which was
            created as a ‘consultative and advisory’ body, authority to promulgate regulations
21          in U.S. waters. . . . By giving the [USCG] authority to promulgate traffic separate
            schemes, Congress intended to make the [USCG] accountable for them.
22

23   Id.
24          More recently, in Tulalip Tribes v. Kelly, Civ. No. 17-652, 2018 U.S. Dist. LEXIS 7852
25   (W.D. Wash. Jan. 17, 2018), tribal plaintiffs with cultural and spiritual interests in ESA-listed
26   southern resident killer whales sued the USCG and NMFS for again refusing to conduct ESA
27   consultation, this time regarding the impacts of the codification of TSS designations in and
28

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 1   around the Salish Sea. Defendants moved to dismiss on standing, arguing that the alleged harm
 2   of increased ship strikes and oil spills is not “fairly traceable” to the USCG’s action to designate
 3   TSSs, and since the TSSs had been in effect for several prior years, USCG’s action did not
 4   “cause” the threats to the southern residents. Tulalip Tribes, 2020 U.S. Dist. LEXIS 7852, at *7.
 5          Like the D.C. Circuit, the Tulalip Tribes court concluded that the USCG “regulates ship
 6   traffic through the TSSs and the presence of ship traffic is directly connected to the resultant
 7   possibilities of oil spills and vessel strikes.” Id. at *8. And there, like here, the USCG had itself
 8   acknowledged that the “expected benefits associated with codifying the existing TSSs include a
 9   potential reduction in the instances of groundings, collisions, and other vessel casualties . . . ,
10   which are inextricably tied to the dangers which marine traffic poses to the endangered species.”
11   Id.; see AR 87-88 (noting that “the broad distribution of ships . . . was the primary reason that the
12   USCG began the PARS process, as they recognized that vessels dispersed across a large area
13   caused a maritime safety risk.”).
14          In this case, rather than simply conducting no section 7 consultation at all, the USCG and
15   NMFS instead engaged in a formal section 7 process that culminated with an ultimately
16   meaningless Biological Opinion. By contorting its analysis through the comparative no-lane
17   framework—which is itself built on the very assumption that courts rejected in both Gutierrez
18   and Tulalip Tribes, (i.e., TSS designations have no effect)—the actual impacts of the TSS
19   designations have been almost wholly obscured. Based on the conclusion of no impacts, NMFS
20   then omitted the key conservation elements of biological opinions, including the elements of
21   incidental take statements and potential inclusion of reasonable and prudent alternatives (if a
22   draft jeopardy determination is made).
23          The Biological Opinion is consequently of little conservation value to the listed whales
24   and leatherback sea turtle and deprives these species of the protections Congress intended the
25   consultation process to provide. Because NMFS’s underlying assumption for the no-lane
26   framework was arbitrary and without a rational basis, the Biological Opinion and its jeopardy
27   analysis is unlawful.
28

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 1                  2.      The ESA Demands a Comprehensive and Aggregative Jeopardy
                            Analysis, Not the Comparative Approach of the “No-Lane”
 2                          Framework
 3          The ESA and section 7 consultation regulations mandate that biological opinions

 4   incorporate a comprehensive, aggregative approach to the effects analysis. The longstanding

 5   regulatory definition for “effects of the action” includes direct, indirect, and interrelated threats

 6   that are added to the environmental baseline in order to determine jeopardy. 50 C.F.R. § 402.02.

 7   The Section 7 Consultation Handbook further instructs NMFS to find whether:

 8          the aggregate effects of the factors analyzed under “environmental baseline,”
            “effects of the action,” and “cumulative effects” in the action area . . . are likely to
 9          jeopardize the continued existence of the species or result in destruction or adverse
            modification of critical habitat.
10

11   ESA Consultation Handbook, at 4-33 (Mar. 1988), https://media.fisheries.noaa.gov/dam-

12   migration/esa_section7_handbook_1998_opr5.pdf (emphasis omitted); 50 C.F.R. § 402.14(g)(4)

13   (directing NMFS to “[a]dd the effects of the action and cumulative effects to the environmental

14   baseline and in light of the status of the species and critical habitat” when formulating a jeopardy

15   opinion).

16          Rather than conducting a comprehensive analysis of the impacts of the entire proposed

17   action on listed species as required by the ESA and its regulations, NMFS based its Biological

18   Opinion on a two-part analytical framework that compares those effects to the hypothetical no-

19   lane scenario. AR 63 (“To evaluate the likely effects of the proposed action . . . NMFS

20   considered the likely patterns of shipping traffic without the proposed action, that is, shipping in

21   the proposed action areas without the TSSs (a no-lanes scenario).”); AR 73–74 (NMFS

22   describing “fundamental questions” in determining effects in Biological Opinion as “1) would

23   ships using the TSSs be expected to co-occur in space and time with blue, fin, and humpback

24   whales; and 2) how does this exposure compare to the no-lane scenario?”) (emphasis added).

25          As addressed in section II.A.1, supra, the underlying assumptions of the no-lane

26   framework are arbitrary and have no rational basis in fact or law. Based on these assumptions,

27   NMFS not only concluded that the USCG’s TSS designations are not likely to adversely affect

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 1   listed species but would in fact decrease “the overall exposure profile for whales and leatherback
 2   sea turtles.” AR 90.
 3          NMFS’s use of the no-lane reference point relies on a comparative approach to the
 4   Biological Opinion’s jeopardy analysis that is directly counter to the aggregative approach that
 5   ESA regulations demands. In other words, “[o]nly a comprehensive approach to jeopardy will
 6   meet the statutory mandate.” Nat’l Wildlife Fed’n v. Nat’l Marine Fisheries Serv., Civ. No. 1-
 7   640-RE, 2005 U.S. Dist. LEXIS 16345, *46 (D. Or. May 26, 2005) [hereinafter NWF I] (citing
 8   16 U.S.C. § 1536(a)(2); 50 C.F.R. § 402.14(g)). In NWF I, the district court rejected the “basic
 9   analytical framework” NMFS used in its Biological Opinion because that framework relied on
10   “the comparison, rather than the aggregation, of the effects of the proposed action.” Id. at *23–
11   24. The Ninth Circuit repeatedly upheld this core holding through various phases of the case.
12   Nat’l Wildlife Fed’n v. Nat’l Marine Fisheries Serv., 422 F.3d 782 (9th Cir. 2005) [hereinafter
13   NWF II] (appeal of preliminary injunction); Nat’l Wildlife Fed’n v. Nat’l Marine Fisheries Serv.,
14   481 F.3d 1224 (9th Cir. 2007) [hereinafter NWF III] (appeal of summary judgment merits); Nat’l
15   Wildlife Fed’n v. Nat’l Marine Fisheries Serv., 524 F.3d 917 (9th Cir. 2008) [hereinafter NWF
16   IV] (amended holding); see also Pac. Coast Fed’n of Fishermen’s Ass’ns v. Nat’l Marine
17   Fisheries Serv., 265 F.3d 1028, 1036–37 (9th Cir. 2001) (holding that “[i]f individual projects
18   are diluted to insignificance and not aggregated,” then “NMFS’s assessment . . . is tantamount to
19   assuming that no project will ever lead to jeopardy of a listed species.”).
20          In the NWF cases, NMFS originally concluded that the action at issue caused jeopardy to
21   listed species, but it changed its approach in a new biological opinion “by segregating from the
22   proposed action all elements it deems nondiscretionary, thereby consigning the effects of those
23   elements to the environmental baseline.” NWF I, 2005 U.S. Dist. LEXIS 16345, at *43. As the
24   court summarized in rejecting that approach, “[w]hat NOAA has in effect done in the [biological
25   opinion] is compare the proposed action to the share of the proposed action it chose to re-
26   categorize as part of the environmental baseline, rather than properly evaluating the proposed
27

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 1   action in its entirety.” Id.; see also id. at *46 (“This has the effect of substantially lowering the
 2   threshold required for the mitigation elements of the proposed action.”)
 3           The Ninth Circuit reached a similar conclusion in a case concerning loggerhead sea
 4   turtles. Turtle Island Restoration Network v. U.S. Dep’t of Com., 878 F.3d 725, 738 (9th Cir.
 5   2017) (“Here, the NMFS improperly minimized the risk of bycatch to the loggerheads’ survival
 6   by only comparing the effects of the fishery against the baseline conditions that have already
 7   contributed to the turtles’ decline.”); see also Am. Rivers, Inc. v. NOAA Fisheries, No. CV-04-
 8   0061-RE, 2006 U.S. Dist. LEXIS 32931, at *18 (D. Or. May 23, 2006) (“NOAA’s comparison
 9   of the effects of the action to the environmental baseline (reference operation), rather than
10   aggregating those effects, results in a jeopardy analysis that is insufficiently comprehensive to
11   ‘insure’ that any action carried out by a federal agency is ‘not likely to jeopardize the continued
12   existence’ of a listed species.”)(emphasis in original).
13           NMFS attempted to obscure the effects of USCG’s TSS designations by using the no-
14   lane framework, and in doing so, it relied on a more elaborate but equally unlawful comparative
15   lens to that the Ninth Circuit rejected in NWF II–IV and Turtle Island. Here, the Biological
16   Opinion’s effects analysis considers exposure, response, and risk, and it expressly acknowledges
17   that the Santa Barbara Channel and the three San Francisco Bay TSS designations route large
18   vessels through areas of high whale densities. See, e.g., AR 74 (“Whales in the [western portion]
19   of the [Santa Barbara Channel] TSS may be exposed to ships anywhere along the lane although
20   likelihood of exposure is higher in areas of high concentration, particularly the [far western end]
21   or along the 200 meter water depth”); AR 75 (Figure 13) (showing core feeding area of blue
22   whales at the entrance of Santa Barbara Channel); AR 80 (“The [San Francisco] TSS area covers
23   an important foraging area for blue and humpback whales and leatherback sea turtles. The
24   western and northern approaches of the [San Francisco] TSS pass over the 200 meter depth and
25   slope, which have been identified as feeding areas for blues and humpbacks. The area also
26   contains designated leatherback critical habitat.”); AR 82 (“[T]here is a likelihood of co-
27

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 1   occurrence between ships and blue and humpback whales across nearly all of the [San Francisco]
 2   TSS action areas, particularly in the summer and fall.”).
 3          However, rather than simply using this effects analysis to inform its ultimate jeopardy
 4   determination, NMFS then took the additional step of using the no-lane scenario as an arbitrary
 5   comparative sieve to obscure those effects. By assuming that general shipping patterns are
 6   unaffected by the USCG TSS designations, and then building that assumption into the no-lane
 7   comparative framework, NMFS effectively excludes any impact arising from those shipping
 8   patterns from its jeopardy analysis.
 9          Thus, even though the USCG made an affirmative decision to route shipping traffic
10   through some of the densest seasonal aggregations of large whales on the planet, as well as areas
11   of importance to the leatherback sea turtle, the no-lane framework effectively assured NMFS
12   would conclude that this decision has little to no effect. This nonsensical and unlawful approach
13   should be rejected. Aluminum Co. of Am. v. Adm’r, Bonneville Power Admin., 175 F.3d 1156,
14   1162 n. 6 (9th Cir. 1999) (upholding biological opinion jeopardy determination where court
15   agreed with NMFS “that any action agency can [not] ‘stay the course’ just because doing so has
16   been shown slightly less harmful to the listed species than previous operations.”).
17                  3.      NMFS Improperly Included the Effects of USCG TSS Designations in
                            the Environmental Baseline
18

19          NMFS further concealed the effects of the USCG TSS designations by incorrectly
20   characterizing those effects as part of the environmental baseline. While there are some elements
21   of shipping that are not under USCG’s discretion and thus properly considered as part of the
22   baseline (e.g., the California Air Resources Board rule and emissions control area), the
23   Biological Opinion also improperly conflates the effects of the action—Coast Guard shipping
24   lane designations—with its baseline discussion. AR 52–61; see also 50 C.F.R. § 402.02 (defining
25   environmental baseline).
26          The USCG has discretion in its TSS designations. See Gutierrez, 532 F.3d at 927 (“The
27   [USCG] has conducted port access route studies, . . . accepted comments on a proposed
28

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 1   route, . . . and ensured that [TSS designations] appear in the Code of Federal Regulations. . . .
 2   These tasks are not merely ministerial; they require a significant amount of discretion.”). Here,
 3   the USCG used that discretion to approve several modifications to the TSSs through Santa
 4   Barbara Channel and in the approaches to the San Francisco Bay but left the bulk of the existing
 5   lanes unchanged. The ESA mandates that all the impacts of those discretionary designations on
 6   listed species be assessed as an effect, not as part of the environmental baseline, in determining
 7   jeopardy. This principle was reaffirmed during the rulemaking process for the 2019 revisions to
 8   the 402 consultation regulations. 84 Fed. Reg. 44,976, 44,978 (“discretionary activities . . . that
 9   are part of the proposed action but for which no change is proposed” are to be analyzed “as part
10   of the effects of the action, even those operations that the Federal agency proposes to keep the
11   same.”).
12          This conflation of project effects with the baseline is part and parcel of the Biological
13   Opinion’s broader framework, discussed supra, which arbitrarily excludes any analysis of TSS
14   effects on listed species on the false assumption that TSS designations do not drive shipping
15   patterns. See AR 66 (“The purpose of [the no-lane] approach was to allow NMFS to determine if
16   there were effects to listed species as a result of shipping traffic as organized by TSSs versus the
17   existing effects to listed species from shipping traffic that occurs into and out of these Ports
18   already.”); AR 90 (“The baseline risk of vessel strikes is a result of the existence of ships and
19   shipping traffic to, from, and between ports is not an effect of the proposed action.”).
20          B.      NMFS Failed to Consider the Best Available Science Regarding
                    Humpback Whales
21

22          NMFS also violated its obligation to rationally assess the impacts of the TSS designations
23   utilizing the best available scientific information. As a primary example, the year before issuing
24   its Biological Opinion, NMFS determined that (1) the Central America DPS of humpback whales
25   is endangered, (2) vessel collisions pose one of the greatest threats to their continued existence
26   and (3) especially high levels of large vessel traffic are found in its range off Panama, Southern
27   California, and San Francisco. 81 Fed. Reg. at 62,307.
28

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 1          Nevertheless, NMFS concluded that the USCG’s TSS designations—which indisputably
 2   focus and concentrate vessel traffic in areas with high density of whales—would not jeopardize
 3   the species’ continued existence. In reaching this conclusion, NMFS erred in two primary ways:
 4   (1) it ignored highly pertinent information representing the best available science on the
 5   abundance of and threats to humpback whales, and (2) it otherwise failed to make a rational
 6   connection between the facts found and choices made. Each of these faults render the Biological
 7   Opinion unlawful.
 8          The ESA requires NMFS to use the “best scientific and commercial information
 9   available” in forming its Biological Opinion. 16 U.S.C. § 1536(a)(2); 50 C.F.R. § 402.14(g)(8).
10   This command means the “‘agency ‘cannot ignore available biological information or fail to
11   develop projections’ which may indicate potential conflicts between the proposed action and the
12   preservation of endangered species.” Greenpeace v. Nat’l Marine Fisheries Serv., 80 F. Supp. 2d
13   1137, 1150 (W.D. Wash. 2000) (quoting Conner, 848 F.2d at 1454).
14          Yet that is just what NMFS unlawfully did with this Biological Opinion. NMFS failed to
15   use the best available science by ignoring available information indicating that the number of
16   Central America humpback whales is perilously small—about 400—and the threatened Mexico
17   DPS abundance estimate was also reduced significantly in the listing decision. Compounding the
18   problem, the Biological Opinion ignored recent data about increasing deaths in fishing gear off
19   California.
20          The Biological Opinion gave a Central America DPS population estimate of
21   approximately 400 to 600 humpbacks, and an estimate of 6,000 to 7,000 Mexico DPS
22   humpbacks. AR 40. Yet months earlier, NMFS concluded that the number of Central America
23   DPS humpbacks was 411, 81 Fed. Reg. at 62,307, and that the Mexico DPS was only 3,264
24   humpbacks. Id. at 62,305. Similarly, NMFS asserted in the Biological Opinion that the
25   population of Mexico humpback whales is increasing, AR 40, even though in its earlier listing
26   decision it acknowledged that it did “not have specific evidence that this DPS is actually
27   increasing in overall population size.” 81 Fed. Reg. at 62,306.
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 1          As courts have explained, when a Biological Opinion uses “data [that] are either outdated
 2   or inaccurate, it should, at the very least, analyze the new data or explain why it nevertheless
 3   chose to rely on the older data.” Dow AgroSciences LLC v. Nat’l Marine Fisheries Serv., 707
 4   F.3d 462, 473 (4th Cir. 2013); see also Intertribal Sinkyone Wilderness Council v. Nat’l Marine
 5   Fisheries Serv., 970 F. Supp. 2d 988, 998–1002 (N.D. Cal. 2013) (invalidating NMFS’s reliance
 6   on outdated exposure thresholds the agency had abandoned elsewhere). That is particularly true
 7   here, where NMFS listed the relevant humpback DPSs in part because of the magnitude of the
 8   ship strike threat. But NMFS failed to acknowledge its own science showing lower population
 9   estimates and uncertain population trends. Instead, it used old data that inflated the status of the
10   species, thereby diminishing the true import of the threat of ship strikes to ESA-listed humpback
11   whale DPSs.
12          Inexplicably, the Biological Opinion also relies on information regarding the
13   California/Oregon/Washington humpback whale “stock,” as designated under the Marine
14   Mammal Protection Act, while acknowledging that it does not align with the humpback whale
15   DPS designations under the ESA. AR 52 (“NMFS uses the information on these stocks as the
16   best available scientific and commercial information to support our analysis of impacts to the
17   ESA-listed species.”). The information on the California/Oregon/Washington humpback whale
18   stock does not adequately protect the endangered Central America DPS and threatened Mexico
19   DPS because it aggregates the DPSs into one management unit with a larger population. This is
20   antithetical to the ESA because “[t]o the extent that there is any uncertainty as to what constitutes
21   the best available scientific information, Congress intended ‘to give the benefit of the doubt to
22   the species.’” Ctr. for Biological Diversity v. Bureau of Land Mgmt., 422 F. Supp. 2d 1115, 1127
23   (N.D. Cal. 2006) (quoting Conner, 848 F.2d at 1454). Erasing the discreteness of a dangerously
24   small humpback whale population while purporting to analyze the impacts of a primary threat to
25   that population does not meet the ESA’s mandate.
26          NMFS also ignored available information regarding recent entanglement-related
27   humpback whale injury and death. The Biological Opinion cited science that estimates that—in
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 1   Southern California alone—vessel collisions kill on average 5.9 humpbacks annually. AR 60. It
 2   provided no annual estimate of entanglements but noted that in a 15-year period (1998–2013), 53
 3   humpback whales died or were seriously injured due to fisheries. Yet the Biological Opinion
 4   failed to consider that NMFS, in its rule listing humpback DPSs on the ESA, noted that there
 5   were 31 confirmed humpback deaths resulting from entanglements off the coasts of California,
 6   Oregon, and Washington in 2015 alone. 81 Fed. Reg. at 62,305.
 7           NMFS apparently recognized that data regarding how many whales were caught in
 8   fishing gear each year was relevant to the analysis in its Biological Opinion, see, e.g., AR 61–62,
 9   yet it did not consider the most recent data—that far exceeded the number of entanglements
10   previously estimated—in its evaluation. Id. Entanglement information from 2015 is especially
11   relevant because of the drastic increase in entanglements off the U.S. West Coast. Id. In short,
12   NMFS failed to evaluate relevant data, despite knowing that the endangered whales and sea
13   turtles at issue in the Biological Opinion are increasingly harmed by fishing gear.
14          The population abundance and entanglement data that NMFS failed to consider here are
15   precisely the type of data that courts have found are needed to conduct a lawful jeopardy
16   analysis. See, e.g., Nat. Res. Def. Council v. Kempthorne, 506 F. Supp. 2d 322, 362, 367 (E.D.
17   Cal. 2007) (holding Biological Opinion issued in 2005 arbitrary and capricious for failing to
18   consider annual population surveys of endangered species at issue that were “regularly
19   compiled . . . and relied upon by the agency in the past”). The need to consider such information
20   is particularly important given the highly imperiled status of the Central America DPS of
21   humpback whales, with only 411 whales remaining, and the drastic increase in deaths from
22   entanglements.
23          C.      NMFS Failed to Develop a Lawful Incidental Take Statement
24          When a federal action is not likely to jeopardize listed species, a biological opinion must
25   analyze whether a “taking” of listed species may occur. 16 U.S.C. § 1536(b)(4). The definition of
26   “take” includes actions that “harass”, “harm”, “wound,” or “kill” a listed species. Id. § 1532(19).
27   Whenever “such take is reasonably certain to occur,” a biological opinion must provide an
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 1   “incidental take statement,” 50 C.F.R. § 402.14(g)(7), (i). An incidental take statement serves
 2   several important functions. First, it “serves as a check on the agency’s original decision that the
 3   incidental take of listed species resulting from the proposed action will not [jeopardize the
 4   continued existence of the species].” Ctr. for Biological Diversity v. Salazar, 695 F.3d 893, 911
 5   (9th Cir. 2012). Second, it establishes a level for permitted incidental take that, if exceeded,
 6   invalidates the “safe harbor” provision that protects an agency from liability for authorizing an
 7   action that causes take. See 50 C.F.R. § 402.14(i)(5) (waiving the take prohibition for actions
 8   authorized and in compliance with an incidental take statement); Or. Nat. Res. Council v. Allen,
 9   476 F.3d 1031, 1039–40 (9th Cir. 2007) (invalidating an incidental take statement because it
10   failed to establish a trigger to invalidate the safe harbor provision and require reinitiation of the
11   consultation process). And third, it must contain “reasonable and prudent measures” that NMFS
12   considers necessary or appropriate to minimize the impact of the take. 16 U.S.C. § 1536(b)(4);
13   50 C.F.R. § 402.14(i)(1)(ii)–(iv).
14          “This statutory and regulatory language obligates [the action agency] to minimize the
15   impact of the proposed action and also acts as a trigger for the reinitiation of formal
16   consultation.” See Pac. Shores Subdivision Cal. Water Dist. v. U.S. Army Corps of Eng’rs, 538
17   F. Supp. 2d 242, 258 (D.D.C. 2008). To provide the required “trigger,” an incidental take
18   statement must “‘[s]pecif[y] the impact of such incidental taking on the species’ . . . in a way that
19   will alert the agency when the allowed incidental take has been exceeded.” Miccosukee Tribe v.
20   United States, 566 F.3d 1257, 1271–72 (11th Cir. 2009) (alteration in original) (quoting 16
21   U.S.C. § 1536(b)(4)(i)). If it is impossible to quantify take, a biological opinion must identify a
22   surrogate that would provide a reasonable estimate. Id. at 1275 (rejecting agency’s argument that
23   because the birds in the case have “secretive” behavior, “cryptic” colors, and “move over
24   expansive and remote areas,” a surrogate measure of take was not required); Or. Nat. Res.
25   Council, 476 F.3d at 1037–38 (invalidating Biological Opinion that “offers no explanation of
26   why the [agency] was unable numerically to quantify the level of take of northern spotted
27   owls. . . . The [agency] … never states that it is not possible to update the survey data in order to
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 1   estimate the number of takings, only that it has not actually done the surveys.”). “Difficulty” in
 2   crafting a numerical incidental take statement is not a lawful justification for not doing one.
 3   Conservation Council for Haw. v. Nat’l Marine Fisheries Serv., 97 F. Supp. 3d 1210, 1234–35
 4   (D. Haw. 2015).
 5          Here, the Biological Opinion contains a heading titled “Incidental Take Statement,” but
 6   that purported statement fails to meet any of the ESA’s requirements. Using the same rationale as
 7   its determination that the TSS designations will essentially have no effect on listed species—
 8   based on a comparison of the effects of lane designations to the hypothetical no-lane scenario—
 9   NMFS gave no take estimate of any kind and did not address the other required elements of
10   incidental take statements. AR 98 (“[B]ased upon the overall reduced exposure of whales to
11   vessel traffic, the behavior and number of ships in the action area and the relative density and
12   variability in habitat use by whales, NMFS could not detect a change in the risk profile from the
13   proposed action such that take is considered likely to occur as a result of the proposed action.”).
14          As discussed supra, NMFS’s reliance on no-lane framework resulted in arbitrary
15   conclusions regarding the effects of the action. These conclusions have equally invalidated the
16   Incidental Take Statement, which is essentially no statement. This lack of an incidental take
17   statement violates the ESA. Pub. Empls. for Env’t Responsibility v. Beaudreu, 25 F. Supp. 3d 67,
18   114–15 (D.D.C. 2014).
19   III.   The USCG Arbitrarily Relied on the Unlawful Biological Opinion
20          Section 7 of the ESA also “imposes on the [USCG] a substantive duty to ensure that its
21   [actions] are not likely to jeopardize the continued existence” of the listed whales and
22   leatherback sea turtle. Wild Fish Conservancy v. Salazar, 628 F.3d 513, 532 (9th Cir. 2010).
23   Consistent with this key premise, “an [action] agency cannot meet its section 7 obligations by
24   relying on a Biological Opinion that is legally flawed or by failing to discuss information that
25   would undercut the opinion’s conclusions.” Ctr. for Biological Diversity v. U.S. Bureau of Land
26   Mgmt., 698 F.3d 1101, 1127–28 (9th Cir. 2012).
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 1          As a result of NMFS preparing an unlawful Biological Opinion for the USCG’s
 2   codification of TSS designations off the Southern and Northern California coasts, the USCG’s
 3   reliance on the Biological Opinion in adopting the TSS designations was arbitrary and
 4   capricious, and the USCG violated its substantive duty to ensure no jeopardy to blue whales, fin
 5   whales, humpback whales, and leatherback sea turtles.
 6                                           CONCLUSION
 7          For all the reasons stated herein, the Court should grant Plaintiffs’ motion for summary
 8   judgment, and declare that NMFS and the USCG violated the ESA.9
 9

10   Respectfully submitted this 31st day of January, 2022.
11
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26     Because Defendants have agreed to undergo reinitiated consultation, Plaintiffs are not briefing
     the reinitiation claim and do not include citation to, or discussion of, the significant new
27   scientific information that has arisen subsequent to the February 2017 Biological Opinion that
     prompted the renewed consultation.
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